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           MINUTE ORDER OF THE UNITED STATES DISTRICT COURT

                        SOUTHERN DISTRICT OF CALIFORNIA



             Nuvasive, Inc. v. Alphatec Holdings,
Case Name:                                             Case Number: 18cv347-CAB-MDD
             Inc.

Hon. Cathy Ann Bencivengo         Ct. Deputy Lori Hernandez       Rptr Tape: n/a

The telephonic status conference previously scheduled for July 23, 2020 at 10:00 a.m. is hereby
CONTINUED to July 30, 2020 at 10:00 a.m. The dial-in number is (888) 398-2342, and the
access code is 1749358. It is SO ORDERED.

Date: July 22, 2020                                                                Initials: ZZ
